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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                       ATTACHMENT #2 TO JUDGMENT
– – – – – – – – – – – – – – – –X

UNITED STATES OF AMERICA                           PRELIMINARY ORDER OF FORFEITURE

            - against -                            23-CR-41 (DLI)

MOHAMMAD IBRAHIM BAZZI,

                          Defendant.

– – – – – – – – – – – – – – – –X

               WHEREAS, on or about September 20, 2024, Mohammad Ibrahim Bazzi (the

“defendant”), entered a plea of guilty to the offense charged in Count One of the above-

captioned Indictment, charging a violation of 50 U.S.C. § 1705(a); and

               WHEREAS, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

the defendant has consented to the forfeiture of all right, title, and interest to the United

States in the following assets (collectively, the “Seized Assets”):

               (i)     approximately $827,695.84 seized by law enforcement on or about
                       August 1, 2019 from Huntington National Bank, account number
                       XXXXXX5780, and all proceeds traceable thereto; and

               (ii)    approximately $833.04 seized by law enforcement on or about August
                       1, 2019 from Huntington National Bank, account number
                       XXXXXX6536, and all proceeds traceable thereto,

as any property, real or personal, constituting, or derived from, proceeds obtained directly or

indirectly as a result of the defendant’s violation of 50 U.S.C. § 1705(a), and/or substitute

assets, pursuant to 21 U.S.C. § 853(p).

               IT IS HEREBY ORDERED, ADJUDGED AND DECREED, on consent, by

and between the United States and the defendant as follows:
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               1.      Pursuant to 18 U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853(p), and 28

U.S.C. § 2461(c), the defendant shall forfeit to the United States all right, title, and interest in

the Seized Assets.

               2.      Upon entry of this Preliminary Order of Forfeiture (“Preliminary

Order”), the United States Attorney General or his designee is authorized to seize the Seized

Assets, to conduct any proper discovery, in accordance with Fed. R. Crim. P. 32.2(b)(3) and

(c), and to commence any applicable proceedings to comply with statutes governing third-

party rights, including giving notice of this Preliminary Order.

               3.      The United States shall publish notice of this Preliminary Order in

accordance with the custom and practice in this district on the government website

www.forfeiture.gov, of its intent to dispose of the Seized Assets in such a manner as the

Attorney General or his designee may direct. The United States may, to the extent

practicable, provide direct written notice to any person known or alleged to have an interest

in the Seized Assets as a substitute for published notice as to those persons so notified.

               4.      Any person, other than the defendant, asserting a legal interest in the

Seized Assets may, within thirty (30) days of the final publication of notice or receipt of

notice or no later than sixty (60) days after the first day of publication on an official

government website, whichever is earlier, petition the Court for a hearing without a jury to

adjudicate the validity of his or her alleged interest in the Seized Assets, and for an

amendment of the order of forfeiture, pursuant to 21 U.S.C. § 853(n)(6). Any petition filed

in response to the notice of forfeiture of the Seized Assets must be signed by the petitioner

under penalty of perjury and shall set forth the nature and extent of the petitioner’s right,

title, or interest in the property, the time and circumstances of the petitioner’s acquisition of
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the right, title, or interest in the property, any additional facts supporting the petitioner’s

claim, and the relief sought.

               5.      The defendant shall not file a claim or petition seeking remission or

contesting the forfeiture of the Seized Assets in any administrative or judicial (civil or

criminal) proceeding. The defendant shall not assist any person or entity in the filing of any

claim or petition seeking remission or contesting the forfeiture of the Seized Assets in any

administrative or judicial (civil or criminal) proceeding. The defendant shall fully assist the

government in effectuating the surrender and forfeiture of the Seized Assets to the United

States. The defendant shall take whatever steps are necessary to ensure that clear title to the

Seized Assets passes to the United States, including, but not limited to, the execution of any

and all documents necessary to effectuate the surrender and forfeiture of the Seized Assets to

the United States. Further, if any third party files a claim to the Seized Assets, the defendant

will assist the government in defending such claims. If the Seized Assets are not forfeited to

the United States, the United States may seek to enforce this Preliminary Order against any

other assets of the defendant up to the value of the Seized Assets, pursuant to 21 U.S.C. §

853(p). The defendant further agrees that the conditions of 21 U.S.C. § 853(p)(1)(A)-(E)

have been met.

               6.      The defendant knowingly and voluntarily waives his right to any

required notice concerning the forfeiture of the monies and/or properties forfeited hereunder,

including notice set forth in an indictment, information or administrative notice. In addition,

the defendant knowingly and voluntarily waives his right, if any, to a jury trial on the

forfeiture of the Seized Assets, and waives all constitutional, legal and equitable defenses to

the forfeiture of said monies and/or properties, including, but not limited to, any defenses
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based on principles of double jeopardy, the Ex Post Facto clause of the Constitution, any

applicable statute of limitations, venue, or any defense under the Eighth Amendment,

including a claim of excessive fines.

               7.     Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Preliminary

Order shall become final as to the defendant at the time of the defendant’s sentencing and

shall be made part of the defendant’s sentence and included in his judgment of conviction. If

no third party files a timely claim, this Preliminary Order, together with Supplemental Orders

of Forfeiture, if any, shall become the Final Order of Forfeiture, as provided by Fed. R. Crim.

P. 32.2(c)(2). At that time, the monies and/or properties forfeited herein shall be forfeited to

the United States for disposition in accordance with the law.

               8.     The United States alone shall hold title to the Seized Assets following

the Court’s disposition of all third-party interests, or, if none, following the expiration of the

period provided in 21 U.S.C. § 853(n)(2) .

               9.     The forfeiture of the Seized Assets is not to be considered a payment of

a fine, penalty, restitution loss amount, or payment of any income taxes that may be due, and

shall survive bankruptcy.

               10.    This Preliminary Order shall be binding upon the defendant and the

successors, administrators, heirs, assigns and transferees of the defendant, and shall survive

the bankruptcy of any of them.

               11.    This Preliminary Order shall be binding only upon the Court’s “so

ordering” of the Order.




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              12.     The Court shall retain jurisdiction over this action to enforce

compliance with the terms of this Preliminary Order and to amend it as necessary, pursuant

to Fed. R. Crim. P. 32.2(e).



Dated: Brooklyn, New York
       ________________________,
       October 2                 2024

                                            SO ORDERED:


                                            ______________________
                                            ______________________________________
                                                                 I
                                            HONORABLE DORA L. IRIZARRY
                                            UNITED STATES DISTRICT JUDGE
                                            EASTERN DISTRICT OF NEW YORK




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